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8
                                   UNITED STATES DISTRICT COURT
9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                            SAN JOSE DIVISION
11                                                                        *E-FILED - 8/17/06*
12
13   UNITED STATES OF AMERICA,                      )       No. CR 05-00734-RMW
                                                    )
14              Plaintiff,                          )
                                                    )       STIPULATION TO CONTINUE
15        v.                                        )       SENTENCING HEARING
                                                    )        AND ORDER
16   DESTON EVANS,                                  )
       aka hammer, aka 778889,                      )
17                                                  )
                Defendant.                          )
18                                                  )
19        It is hereby stipulated and agreed between defendant Deston Evans, by and through his
20   counsel of record, Jamie Harmon, Esq., and the United States, by and through Assistant United
21   States Attorney Mark L. Krotoski, as follows:
22        1. This matter is presently set for a sentencing hearing on August 7, 2006 at 9:00 a.m.
23        2. More time is needed to complete the presentence report.
24        3. The parties do not oppose this request for further time to prepare the Presentence Report.
25        For the foregoing reasons, and that the ends of justice are served by continuing this case, the
26   parties stipulate and request to a continuance of the sentencing hearing from August 7, 2006 at
27   9:00 a.m. to October 23, 2006 at 9:00 a.m., or the next available date.
28   // // //

     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND [] ORDER
     CR 05-00734-RM W
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1       IT IS SO STIPULATED.
2    Dated: August __, 2006                           KEVIN V. RYAN
                                                      United States Attorney
3
4
                                                      ________________________
5                                                     MARK L. KROTOSKI
                                                      Assistant United States Attorney
6
     Dated: August __, 2006
7
                                                      ________________________
8                                                     JAMIE L. HARMON
                                                      Attorney for Defendant
9
        IT IS SO ORDERED.
10
        Upon good cause shown, the sentencing hearing is continued from August 7, 2006 at 9:00
11
     a.m. to October 23, 2006 at 9:00 a.m.
12
                   17 2006
     Dated: August __,
13
                                                       /S/ RONALD M. WHYTE
                                                      _________________________
14                                                    RONALD M. WHYTE
                                                      United States District Judge
15
     Distribute To:
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     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND [] ORDER
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